                Case 25-20392               Doc 1          Filed 04/23/25         Entered 04/23/25 15:57:14                        Page 1 of 72


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Liza
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        M.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   DeLeon-Velazquez
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6834
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                Case 25-20392             Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                   Page 2 of 72
Debtor 1   Liza M. DeLeon-Velazquez                                                                  Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 33 Montrose Street
                                 Hartford, CT 06106
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Hartford
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
                Case 25-20392              Doc 1          Filed 04/23/25           Entered 04/23/25 15:57:14                       Page 3 of 72
Debtor 1    Liza M. DeLeon-Velazquez                                                                      Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                Case 25-20392                Doc 1      Filed 04/23/25             Entered 04/23/25 15:57:14                       Page 4 of 72
Debtor 1    Liza M. DeLeon-Velazquez                                                                      Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code, and           operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    are you a small business       in 11 U.S.C. § 1116(1)(B).
    debtor?
    For a definition of small         No.      I am not filing under Chapter 11.
    business debtor, see 11
    U.S.C. § 101(51D).
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                Case 25-20392                Doc 1        Filed 04/23/25              Entered 04/23/25 15:57:14                 Page 5 of 72
Debtor 1    Liza M. DeLeon-Velazquez                                                                   Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                Case 25-20392              Doc 1       Filed 04/23/25             Entered 04/23/25 15:57:14                         Page 6 of 72
Debtor 1    Liza M. DeLeon-Velazquez                                                                      Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Liza M. DeLeon-Velazquez
                                 Liza M. DeLeon-Velazquez                                          Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 22, 2025                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
               Case 25-20392                Doc 1          Filed 04/23/25        Entered 04/23/25 15:57:14                         Page 7 of 72
Debtor 1   Liza M. DeLeon-Velazquez                                                                       Case number (if known)



For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Suzann Beckett                                                 Date         April 22, 2025
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Suzann Beckett ct02186
                                Printed name

                                Beckett Law, LLC
                                Firm name

                                543 Prospect Ave
                                Hartford, CT 06105
                                Number, Street, City, State & ZIP Code

                                Contact phone     860-236-1111                               Email address         SuzannB@Beckett-Law.com
                                ct02186 CT
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                Case 25-20392                     Doc 1            Filed 04/23/25                   Entered 04/23/25 15:57:14                                   Page 8 of 72

Fill in this information to identify your case:

Debtor 1                   Liza M. DeLeon-Velazquez
                           First Name                           Middle Name                          Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                                                                         Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $             146,666.50

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $              15,915.39

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $             162,581.89

Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $             153,007.41

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $              79,986.28


                                                                                                                                    Your total liabilities $                 232,993.69


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................               $                4,730.80

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $                4,773.49

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                      page 1 of 2
           Case 25-20392                  Doc 1      Filed 04/23/25           Entered 04/23/25 15:57:14                     Page 9 of 72
Debtor 1   Liza M. DeLeon-Velazquez                                                     Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $        3,604.83


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

     9d. Student loans. (Copy line 6f.)                                                                 $              0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $              0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
               Case 25-20392                        Doc 1               Filed 04/23/25                Entered 04/23/25 15:57:14                       Page 10 of 72

Fill in this information to identify your case and this filing:

Debtor 1                    Liza M. DeLeon-Velazquez
                            First Name                                 Middle Name                    Last Name

Debtor 2
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      DISTRICT OF CONNECTICUT

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       33 Montrose Street                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Hartford                          CT        06106-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $293,333.00                $146,666.50
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                                                                 Joint tenants with rights of
                                                                                      Debtor 1 only                              survivorship
       Hartford                                                                       Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Single-unit Residential Dwelling


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $146,666.50


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1
              Case 25-20392                 Doc 1          Filed 04/23/25                Entered 04/23/25 15:57:14                             Page 11 of 72
Debtor 1         Liza M. DeLeon-Velazquez                                                                          Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Kawasaki                                 Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     EX400                                       Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2020                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                                   Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Black
         Good condition                                         Check if this is community property                                    $4,290.00                 $4,290.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:      Skycat                                   Who has an interest in the property? Check one
                                                                                                                             Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     RV                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2013                                        Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                  $3,800.00                   $3,800.00
         Poor condition                                          (see instructions)




5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                  $8,090.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Household Goods, Furnishings and Related Items for House,
                                   Including Kitchen, Dining Room, Living Room, 4 Bedrooms, 2
                                   Bathrooms, Basement, and Yard                                                                                                  $4,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                   3 Televisions, 1 Laptop, 2 Smartphones, Household Appliances                                                                   $2,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2
            Case 25-20392                              Doc 1              Filed 04/23/25                          Entered 04/23/25 15:57:14             Page 12 of 72
Debtor 1         Liza M. DeLeon-Velazquez                                                                                      Case number (if known)

      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                                          Firearms including:
                                          Smith & Wesson 380, Glock 43X, Glock 44                                                                                        $600.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                                          Everyday Clothing, Underclothing, Outerwear, Footwear, and
                                          Accessories                                                                                                                    $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Miscellaneous Everyday Costume Jewelry, No Precious Metals or
                                          Stones                                                                                                                         $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                               $7,100.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
     No

Official Form 106A/B                                                                     Schedule A/B: Property                                                             page 3
            Case 25-20392                        Doc 1        Filed 04/23/25               Entered 04/23/25 15:57:14                      Page 13 of 72
Debtor 1        Liza M. DeLeon-Velazquez                                                                         Case number (if known)

      Yes........................                                              Institution name:
                                                                               Capital One Bank Account #4579
                                                                               NOTE: Account is open but has a $0 balance
                                         17.1.    Checking                     on petition date.                                                          $0.00

                                                                               Capital One Bank Account #4636
                                                                               NOTE: Account is open but has a $0 balance
                                         17.2.    Savings                      on petition date.                                                          $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                      Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                  % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                 Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                               Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...


Official Form 106A/B                                                    Schedule A/B: Property                                                            page 4
           Case 25-20392               Doc 1        Filed 04/23/25            Entered 04/23/25 15:57:14                       Page 14 of 72
Debtor 1      Liza M. DeLeon-Velazquez                                                               Case number (if known)


                                       NRA Instructor License

                                       No value of the estate                                                                                           $0.00


Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


                                                Back Child Support                                         Alimony & Child
                                                                                                               Support                              $250.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

                                   Homeowner's Insurance through
                                   Progressive
                                   No Value                                                 Debtor                                                      $0.00


                                   Whole Life Insurance Policy through
                                   Mutual of Omaha
                                   Face Value: $155,000
                                   Cash Surrender Value: $475.39                            Minor children                                          $475.39


                                   Health Insurance through HUSKY
                                   No 3rd party value                                       Debtor and children                                         $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........
Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5
              Case 25-20392                        Doc 1             Filed 04/23/25                     Entered 04/23/25 15:57:14                               Page 15 of 72
Debtor 1         Liza M. DeLeon-Velazquez                                                                                              Case number (if known)


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
       Yes. Give specific information..

                                                            Timeshare through Fairway at Pocono Mountain Villas
                                                            Unit 1520/17 odd                                                                                                Unknown



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $725.39


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................              $146,666.50
56. Part 2: Total vehicles, line 5                                                                             $8,090.00
57. Part 3: Total personal and household items, line 15                                                        $7,100.00
58. Part 4: Total financial assets, line 36                                                                      $725.39
59. Part 5: Total business-related property, line 45                                                               $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
61. Part 7: Total other property not listed, line 54                                             +                 $0.00

62. Total personal property. Add lines 56 through 61...                                                      $15,915.39              Copy personal property total           $15,915.39

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $162,581.89




Official Form 106A/B                                                              Schedule A/B: Property                                                                         page 6
                Case 25-20392                 Doc 1           Filed 04/23/25           Entered 04/23/25 15:57:14                    Page 16 of 72

 Fill in this information to identify your case:

 Debtor 1                 Liza M. DeLeon-Velazquez
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF CONNECTICUT

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/25

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      33 Montrose Street Hartford, CT                                $146,666.50                               $75,777.09      Conn. Gen. Stat. §
      06106 Hartford County                                                                                                    52-352b(21)
      Single-unit Residential Dwelling                                                     100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit

      2020 Kawasaki EX400                                              $4,290.00                                 $3,500.00     Conn. Gen. Stat. §
      Black                                                                                                                    52-352b(10)
      Good condition                                                                       100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2020 Kawasaki EX400                                              $4,290.00                                   $150.00     Conn. Gen. Stat. §
      Black                                                                                                                    52-352b(18)
      Good condition                                                                       100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2013 Skycat RV                                                   $3,800.00                                 $3,500.00     Conn. Gen. Stat. §
      Poor condition                                                                                                           52-352b(10)
      Line from Schedule A/B: 4.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2013 Skycat RV                                                   $3,800.00                                   $200.00     Conn. Gen. Stat. §
      Poor condition                                                                                                           52-352b(18)
      Line from Schedule A/B: 4.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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             Case 25-20392                    Doc 1           Filed 04/23/25           Entered 04/23/25 15:57:14                       Page 17 of 72

 Debtor 1    Liza M. DeLeon-Velazquez                                                                    Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Household Goods, Furnishings and                                 $4,000.00                                  $4,000.00        Conn. Gen. Stat. § 52-352b(1)
     Related Items for House, Including
     Kitchen, Dining Room, Living Room,                                                    100% of fair market value, up to
     4 Bedrooms, 2 Bathrooms,                                                              any applicable statutory limit
     Basement, and Yard
     Line from Schedule A/B: 6.1

     3 Televisions, 1 Laptop, 2                                       $2,000.00                                  $2,000.00        Conn. Gen. Stat. § 52-352b(1)
     Smartphones, Household Appliances
     Line from Schedule A/B: 7.1                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Firearms including:                                                 $600.00                                   $600.00        Conn. Gen. Stat. §
     Smith & Wesson 380, Glock 43X,                                                                                               52-352b(18)
     Glock 44                                                                              100% of fair market value, up to
     Line from Schedule A/B: 10.1                                                          any applicable statutory limit

     Everyday Clothing, Underclothing,                                   $400.00                                   $400.00        Conn. Gen. Stat. § 52-352b(1)
     Outerwear, Footwear, and
     Accessories                                                                           100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     Miscellaneous Everyday Costume                                      $100.00                                   $100.00        Conn. Gen. Stat. §
     Jewelry, No Precious Metals or                                                                                               52-352b(18)
     Stones                                                                                100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     Alimony & Child Support: Back Child                                 $250.00                                   $250.00        Conn. Gen. Stat. § 52-352b(8)
     Support
     Line from Schedule A/B: 29.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Whole Life Insurance Policy through                                 $475.39                                   $475.39        Conn. Gen. Stat. §
     Mutual of Omaha                                                                                                              52-352b(20)
     Face Value: $155,000                                                                  100% of fair market value, up to
     Cash Surrender Value: $475.39                                                         any applicable statutory limit
     Beneficiary: Minor children
     Line from Schedule A/B: 31.2


 3. Are you claiming a homestead exemption of more than $214,000?
    (Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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               Case 25-20392                     Doc 1        Filed 04/23/25                 Entered 04/23/25 15:57:14                     Page 18 of 72

Fill in this information to identify your case:

Debtor 1                   Liza M. DeLeon-Velazquez
                           First Name                        Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                        Middle Name                      Last Name


United States Bankruptcy Court for the:               DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                                                        Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As    Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                   Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
2.1     Club Exploria Llc                          Describe the property that secures the claim:                  $1,218.15               Unknown              Unknown
        Creditor's Name                            Timeshare through Fairway at
        ATTN: PRESIDENT/CEO                        Pocono Mountain Villas
        4150 N. Drinkwater                         Unit 1520/17 odd
                                                   As of the date you file, the claim is: Check all that
        Boulevard                                  apply.
        Scottsdale, AZ 85251                           Contingent
        Number, Street, City, State & Zip Code         Unliquidated
                                                       Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                      An agreement you made (such as mortgage or secured
    Debtor 2 only                                       car loan)
      Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another            Judgment lien from a lawsuit
      Check if this claim relates to a                 Other (including a right to offset)   Maintenance Fees
      community debt

Date debt was incurred          2023                        Last 4 digits of account number        3491




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
              Case 25-20392                      Doc 1         Filed 04/23/25                 Entered 04/23/25 15:57:14                 Page 19 of 72

Debtor 1 Liza M. DeLeon-Velazquez                                                                            Case number (if known)
              First Name                  Middle Name                      Last Name


2.2     Club Exploria Llc                          Describe the property that secures the claim:                      $9,374.00         Unknown     Unknown
        Creditor's Name                            Timeshare through Fairway at
        ATTN: PRESIDENT/CEO                        Pocono Mountain Villas
        4150 N. Drinkwater                         Unit 1520/17 odd
                                                   As of the date you file, the claim is: Check all that
        Boulevard                                  apply.
        Scottsdale, AZ 85251                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                05/21 Last
Date debt was incurred          Active 01/23                Last 4 digits of account number         3491


        Freedom Mortgage
2.3                                                                                                                $141,275.68        $293,333.00       $0.00
        Corporation                                Describe the property that secures the claim:
        Creditor's Name                            33 Montrose Street Hartford, CT
        ATTN: PRESIDENT/CEO                        06106 Hartford County
        907 Pleasant Valley Ave,                   Single-unit Residential Dwelling
                                                   As of the date you file, the claim is: Check all that
        Ste 3                                      apply.
        Mt Laurel, NJ 08054                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                5/06/21
                                Last Active
Date debt was incurred          9/16/24                     Last 4 digits of account number         9224




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 3
              Case 25-20392                      Doc 1         Filed 04/23/25                 Entered 04/23/25 15:57:14                           Page 20 of 72

Debtor 1 Liza M. DeLeon-Velazquez                                                                            Case number (if known)
              First Name                  Middle Name                      Last Name


2.4     Metropolitan District                      Describe the property that secures the claim:                         $503.15              $293,333.00           $0.00
        Creditor's Name                            33 Montrose Street Hartford, CT
                                                   06106 Hartford County
        ATTN: PRESIDENT                            Single-unit Residential Dwelling
                                                   As of the date you file, the claim is: Check all that
        555 Main Street                            apply.
        Hartford, CT 06103                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                         car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Inchoate lien
      community debt

Date debt was incurred          2023                        Last 4 digits of account number         5633

2.5     Synchrony/Kawasaki                         Describe the property that secures the claim:                         $636.43                 $4,290.00          $0.00
        Creditor's Name                            2020 Kawasaki EX400
                                                   Black
        Attn: Bankruptcy                           Good condition
                                                   As of the date you file, the claim is: Check all that
        Po Box 965060                              apply.
        Orlando, FL 32896                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                08/20 Last
                                Active
Date debt was incurred          9/15/24                     Last 4 digits of account number         7145



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $153,007.41
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $153,007.41

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Club Exploria
           ATTN PRESIDENT                                                                            Last 4 digits of account number
           PO Box 29352
           Phoenix, AZ 85038




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                              page 3 of 3
               Case 25-20392                  Doc 1          Filed 04/23/25                 Entered 04/23/25 15:57:14                             Page 21 of 72

Fill in this information to identify your case:

Debtor 1                     Liza M. DeLeon-Velazquez
                             First Name                    Middle Name                       Last Name

Debtor 2
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                       Total claim          Priority               Nonpriority
                                                                                                                                            amount                 amount
2.1          City of Hartford                                     Last 4 digits of account number        1322                Unknown               Unknown                 Unknown
             Priority Creditor's Name
             Tax Collector                                        When was the debt incurred?            n/a
             ATTN: PRESIDENT
             550 Main Street
             Hartford, CT 06103-2992
             Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Notice Purposes only


Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 19
                                                                                                               34683
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 22 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.1      Affirm, Inc.                                        Last 4 digits of account number       30R6                                            $413.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/23 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/03/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.2      Affirm, Inc.                                        Last 4 digits of account number       OXF5                                            $325.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 05/23 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/31/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.3      Affirm, Inc.                                        Last 4 digits of account number       EBI5                                            $131.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 12/22 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/19/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 23 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.4      Affirm, Inc.                                        Last 4 digits of account number       LL66                                               $36.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 04/23 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/10/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.5      Affirm, Inc.                                        Last 4 digits of account number       30R6                                            $413.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/23 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/03/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.6      Affirm, Inc.                                        Last 4 digits of account number       OXF5                                            $331.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 05/23 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/31/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 24 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.7      Affirm, Inc.                                        Last 4 digits of account number       EBI5                                            $131.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 12/22 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/19/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.8      Affirm, Inc.                                        Last 4 digits of account number       LL66                                               $36.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 04/23 Last Active
         650 California St, Fl 12                            When was the debt incurred?           7/10/23
         San Francisco, CA 94108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.9      Amazon Marketplace Payments                         Last 4 digits of account number       5691                                               $53.33
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?           2023
         PO Box 81226
         Seattle, WA 98108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Purchases




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 25 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.1
0        Amazon.com                                          Last 4 digits of account number       3091                                            $822.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                                                           Opened 04/24 Last Active
         PO Box 81226                                        When was the debt incurred?           07/23
         Seattle, WA 98108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
1        Amazon.com                                          Last 4 digits of account number       3091                                            $782.29
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?
         PO Box 81226
         Seattle, WA 98108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revolving Charge


4.1
2        American Eagle Outfitters                           Last 4 digits of account number       6927                                            $321.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                                                           Opened 04/24 Last Active
         PO Box 530942                                       When was the debt incurred?           08/23
         Atlanta, GA 30353-0942
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revolving Charge




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 26 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.1
3        Amex                                                Last 4 digits of account number       7313                                          $2,005.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 02/19 Last Active
         Po Box 981540                                       When was the debt incurred?           11/27/23
         El Paso, TX 79998
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
4        Amex                                                Last 4 digits of account number       0874                                          $4,141.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/19 Last Active
         Po Box 981540                                       When was the debt incurred?           08/23
         El Paso, TX 79998
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
5        Amex                                                Last 4 digits of account number       7313                                          $2,128.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 02/19 Last Active
         Po Box 981535                                       When was the debt incurred?           9/19/23
         El Paso, TX 79998
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 27 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.1
6        Bank of America                                     Last 4 digits of account number       6185                                          $4,402.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 07/21 Last Active
         4909 Savarese Circle                                When was the debt incurred?           08/23
         Tampa, FL 33634
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
7        Bank of America                                     Last 4 digits of account number       5442                                          $2,499.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 10/22 Last Active
         4909 Savarese Circle                                When was the debt incurred?           08/23
         Tampa, FL 33634
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
8        Capital One                                         Last 4 digits of account number       0513                                          $5,589.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/19 Last Active
         Po Box 30285                                        When was the debt incurred?           10/23
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 28 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.1
9        Capital One                                         Last 4 digits of account number       9911                                            $200.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 09/19 Last Active
         Po Box 30285                                        When was the debt incurred?           08/23
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
0        Capital One                                         Last 4 digits of account number       0513                                          $6,137.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/19 Last Active
         Po Box 30285                                        When was the debt incurred?           10/23
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
1        Capital One Bank                                    Last 4 digits of account number       7601                                          $4,161.08
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?
         P.O. Box 85147
         Richmond, VA 23276
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revolving Charge




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 29 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.2
2        Cavalry Portfolio Services                          Last 4 digits of account number       6067                                          $1,203.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/24 Last Active
         1 American Lane, Ste 220                            When was the debt incurred?           07/23
         Greenwich, CT 06831
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Credit Card
             Yes                                                Other. Specify   Original Creditor: Citibank


4.2
3        Citibank/The Home Depot                             Last 4 digits of account number       6094                                          $1,074.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 05/19 Last Active
         Po Box 790040                                       When was the debt incurred?           07/23
         St Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.2
4        Comenity Bank/Breadrwds                             Last 4 digits of account number       2963                                          $4,624.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/20 Last Active
         Po Box 182125                                       When was the debt incurred?           07/23
         Columbus, OH 43218
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 30 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.2
5        Comenity/MPRC                                       Last 4 digits of account number       8568                                            $489.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 04/19 Last Active
         Po Box 182125                                       When was the debt incurred?           08/23
         Columbus, OH 43218
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.2
6        Connecticut Natural Gas                             Last 4 digits of account number       5199                                            $928.27
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?           2024-2025
         76 Meadow St
         East Hartford, CT 06108
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Utilties


4.2
7        Credit One Bank                                     Last 4 digits of account number       6385                                            $989.67
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?
         PO Box 98873
         Las Vegas, NV 89193-8873
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revolving Charge




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 31 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.2
8        Credit One Bank                                     Last 4 digits of account number       7785                                          $2,184.81
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?
         PO Box 98873
         Las Vegas, NV 89193-8873
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit card purchases


4.2
9        Discover Financial                                  Last 4 digits of account number       1850                                          $2,612.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 07/21 Last Active
         Po Box 3025                                         When was the debt incurred?           08/23
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3
0        Discover Financial                                  Last 4 digits of account number       4260                                          $2,160.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 04/18 Last Active
         Po Box 3025                                         When was the debt incurred?           08/23
         New Albany, OH 43054
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 32 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.3
1        Esporta Fitness                                     Last 4 digits of account number                                                     $2,426.80
         Nonpriority Creditor's Name
         ATTN PRESIDENT                                      When was the debt incurred?           2023
         1600 Southeast Road
         Farmington, CT 06032
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Fitness contract


4.3
2        Goldman Sachs Bank USA                              Last 4 digits of account number       9968                                          $6,860.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 07/21 Last Active
         Po Box 70379                                        When was the debt incurred?           07/23
         Philadelphia, PA 19176
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3
3        Merrick Bank/Card Works                             Last 4 digits of account number       5254                                            $892.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 03/19 Last Active
         P.O. Box 5000                                       When was the debt incurred?           8/14/23
         Draper, UT 84020
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 12 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 33 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.3
4        Oportun                                             Last 4 digits of account number       4516                                            $748.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 12/30/19 Last Active
         Po Box 560698                                       When was the debt incurred?           07/23
         The Colony, TX 75056
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3
5        Paypal Corporate Office                             Last 4 digits of account number       2687                                            $457.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                                                           Opened 04/24 Last Active
         2211 N. 1st Street                                  When was the debt incurred?           08/23
         San Jose, CA 95131
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Revolving Charge


4.3
6        Social Security Administration                      Last 4 digits of account number       3632                                          $4,531.15
         Nonpriority Creditor's Name
         ATTN: PRESIDENT                                     When was the debt incurred?           2023
         P.O. Box 3490
         Philadelphia, PA 19122
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Overpayment FBO minor child




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13 of 19
            Case 25-20392                 Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                           Page 34 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                Case number (if known)

4.3
7        Sporta Fitness                                      Last 4 digits of account number                                                     $2,426.88
         Nonpriority Creditor's Name
         ATTN PRESIDENT                                      When was the debt incurred?           2022
         1600 Southeast Road
         Farmington, CT 06032
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Fitness dues


4.3
8        Synchrony Bank/Gap                                  Last 4 digits of account number       2687                                            $316.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 10/19 Last Active
         Po Box 965060                                       When was the debt incurred?           08/23
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3
9        Upgrade, Inc.                                       Last 4 digits of account number       0547                                         $10,007.00
         Nonpriority Creditor's Name
         ATTN: PRESIDENT/CEO                                                                       Opened 07/21 Last Active
         275 Battery Street 23rd Floor                       When was the debt incurred?           08/23
         San Francisco, CA 94111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Line Of Credit




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 14 of 19
            Case 25-20392                 Doc 1         Filed 04/23/25               Entered 04/23/25 15:57:14                           Page 35 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                  Case number (if known)

4.4
0         xTimeshares                                          Last 4 digits of account number                                                            Unknown
          Nonpriority Creditor's Name
          ATTN PRESIDENT                                       When was the debt incurred?
          15707 Rockfield Blvd
          Suite 200
          Irvine, CA 92618
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Timeshare contract - may be cancelled as
             Yes                                                  Other. Specify   of 2022

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Apple Card c/o Goldman Sachs                             Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN PRESIDENT                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Lockbox 6112, PO Box 7247
Philadelphia, PA 19170-6112
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
BJ's                                                     Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Card Services                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
ATTN: PRESIDENT
P.O. Box 13337
Philadelphia, PA 19101-3337
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital Management Services LP                           Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
698 1/2 South Ogden Street
Buffalo, NY 14206-2317
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital Management Services LP                           Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
698 1/2 South Ogden Street
Buffalo, NY 14206-2317
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital Management Services LP                           Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
698 1/2 South Ogden Street
Buffalo, NY 14206-2317
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Cavalry Portfolio Services                               Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 15 of 19
            Case 25-20392      Doc 1    Filed 04/23/25               Entered 04/23/25 15:57:14                           Page 36 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                  Case number (if known)

1 American Lane
Suite 220
Greenwich, CT 06831
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit Control LLC                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
3300 Rider Trail S
Suite 500
Earth City, MO 63045
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit Control LLC                       Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
3300 Rider Trail S
Suite 500
Earth City, MO 63045
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit Control LLC                       Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
3300 Rider Trail S
Suite 500
Earth City, MO 63045
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit Control, LLC                      Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
3300 Rider Trail S
Suite 500
Earth City, MO 63045
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Estate Information Services              Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 1370
Reynoldsburg, OH 43068
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Estate Information Services              Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 1370
Reynoldsburg, OH 43068
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Firstsource ADvantage, LLC               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 628
Buffalo, NY 14240-0628
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Gatestone & Co International             Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
1000N West Street
Suite 1200
Wilmington, DE 19801
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Glass Mountain Capital LLC               Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims


Official Form 106 E/F               Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 16 of 19
            Case 25-20392      Doc 1    Filed 04/23/25                Entered 04/23/25 15:57:14                          Page 37 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                   Case number (if known)

ATTN PRESIDENT                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
1375 E Woodfield Road, Suite 4
Schaumburg, IL 60173-5426
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                         Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
15 South Main Street
Greenville, SC 29601
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                         Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
15 South Main Street
Greenville, SC 29601
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                         Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
15 South Main Street
Greenville, SC 29601
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                         Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
15 South Main Street
Greenville, SC 29601
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                         Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
15 South Main Street
Greenville, SC 29601
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
LVNV Funding LLC                         Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: President                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
15 South Main Street
Greenville, SC 29601
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Macy's                                   Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN PRESIDENT                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 8066
Mason, OH 45040
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Phillips & Cohen Associates              Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
1002 Justison Street
Wilmington, DE 19801
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Radius Global Solutions, LLC             Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN PRESIDENT                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 390905
Minneapolis, MN 55439
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?

Official Form 106 E/F               Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 17 of 19
            Case 25-20392     Doc 1     Filed 04/23/25               Entered 04/23/25 15:57:14                           Page 38 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                  Case number (if known)

Resurgent                                Line 4.27 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 37604
Philadelphia, PA 19101-0604
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Resurgent                                Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 37604
Philadelphia, PA 19101-0604
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Schreiber Law Firm                       Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
189 State Street
Bridgeport, CT 06604
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Schreiber Law Firm                       Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
189 State Street
Bridgeport, CT 06604
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Stillman Law Office                      Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN PRESIDENT                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
30057 Orchard Lake Road
Suite 200 Dept. 100
Farmington Hills, MI 48334
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Stillman Law Office                      Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN PRESIDENT                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
30057 Orchard Lake Road
Suite 200 Dept. 100
Farmington Hills, MI 48334
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Sussman & Associates                     Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN PRESIDENT                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
410 S Rampart Blvd
Suite 390
Las Vegas, NV 89145
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Synchrony Bank/Amazon                    Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
PO BOX 960013                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
Orlando, FL 32896-0013
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
TRS Recovery Services, Inc.              Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 60022
City Of Industry, CA 91716-0022
                                         Last 4 digits of account number

Name and Address                         On which entry in Part 1 or Part 2 did you list the original creditor?
Velocity Investments, LLC                Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
ATTN: PRESIDENT                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 788

Official Form 106 E/F               Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 18 of 19
            Case 25-20392                     Doc 1         Filed 04/23/25               Entered 04/23/25 15:57:14                       Page 39 of 72
Debtor 1 Liza M. DeLeon-Velazquez                                                                       Case number (if known)

Wall, NJ 07719
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                      0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                      0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                      0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                      0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                79,986.28

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                79,986.28




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 19 of 19
               Case 25-20392                   Doc 1           Filed 04/23/25      Entered 04/23/25 15:57:14                     Page 40 of 72

Fill in this information to identify your case:

Debtor 1                  Liza M. DeLeon-Velazquez
                          First Name                         Middle Name            Last Name

Debtor 2
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Frontier                                                                   Residential internet contract
              ATTN: PRESIDENT
              P.O. Box 20550
              Rochester, NY 14602-0550

     2.2      T-Mobile                                                                   Cell Phone Service Contract
              ATTN: PRESIDENT
              P.O. Box 742596
              Cincinnati, OH 45274

     2.3      Vivint, Inc.                                                               Residential smart home services contract
              ATTN: PRESIDENT
              62992 Collection Drive
              Chicago, IL 60693-0629




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
               Case 25-20392                    Doc 1            Filed 04/23/25   Entered 04/23/25 15:57:14             Page 41 of 72

Fill in this information to identify your case:

Debtor 1                   Liza M. DeLeon-Velazquez
                           First Name                           Middle Name       Last Name

Debtor 2
(Spouse if, filing)        First Name                           Middle Name       Last Name


United States Bankruptcy Court for the:                 DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


   3.1         Nestor Luis Santiago Ortiz                                                           Schedule D, line   2.1
               747 Park St.                                                                         Schedule E/F, line
               Hartford, CT 06105
                                                                                                    Schedule G
                                                                                                  Club Exploria Llc



   3.2         Nestor Luis Santiago Ortiz                                                           Schedule D, line   2.2
               747 Park St.                                                                         Schedule E/F, line
               Hartford, CT 06105
                                                                                                    Schedule G
                                                                                                  Club Exploria Llc



   3.3         Nestor Santiago                                                                      Schedule D, line   2.3
               747 Park St.                                                                         Schedule E/F, line
               Hartford, CT 06105
                                                                                                    Schedule G
                                                                                                  Freedom Mortgage Corporation




Official Form 106H                                                            Schedule H: Your Codebtors                                  Page 1 of 1
               Case 25-20392              Doc 1      Filed 04/23/25         Entered 04/23/25 15:57:14                    Page 42 of 72



Fill in this information to identify your case:

Debtor 1                      Liza M. DeLeon-Velazquez

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF CONNECTICUT

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Certified Opticial Technician
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Swift Eyecare

       Occupation may include student        Employer's address
                                                                   245 Amity Rd., Ste. 106
       or homemaker, if it applies.
                                                                   Woodbridge, CT 06525

                                             How long employed there?         9 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        4,853.33      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      4,853.33            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case 25-20392             Doc 1        Filed 04/23/25           Entered 04/23/25 15:57:14                       Page 43 of 72


Debtor 1   Liza M. DeLeon-Velazquez                                                              Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      4,853.33       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        948.26   $                   N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                   N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00   $                   N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                   N/A
     5e.    Insurance                                                                     5e.        $         24.27   $                   N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                   N/A
     5g.    Union dues                                                                    5g.        $          0.00   $                   N/A
     5h.    Other deductions. Specify:                                                    5h.+       $          0.00 + $                   N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            972.53       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,880.80       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $        500.00       $               N/A
     8d. Unemployment compensation                                                        8d.        $          0.00       $               N/A
     8e. Social Security                                                                  8e.        $        300.00       $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $              0.00   $               N/A
     8g. Pension or retirement income                                                     8g.        $              0.00   $               N/A
                                               Periodic income as a firearms
     8h.    Other monthly income. Specify:     instructor                                 8h.+ $                50.00 + $                  N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            850.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,730.80 + $           N/A = $          4,730.80
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         4,730.80
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
           Case 25-20392                  Doc 1      Filed 04/23/25                Entered 04/23/25 15:57:14                      Page 44 of 72



Fill in this information to identify your case:

Debtor 1                 Liza M. DeLeon-Velazquez                                                          Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF CONNECTICUT                                                   MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  7                    Yes
                                                                                                                                             No
                                                                                   Son                                  17                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,872.34

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            300.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
         Case 25-20392                 Doc 1         Filed 04/23/25               Entered 04/23/25 15:57:14                         Page 45 of 72


Debtor 1     Liza M. DeLeon-Velazquez                                                                  Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                               170.00
      6b. Water, sewer, garbage collection                                                                   6b.   $                                50.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                60.00
      6d. Other. Specify: Security                                                                           6d.   $                                54.00
             Solar Panels                                                                                          $                                56.00
7.    Food and housekeeping supplies                                                           7.                  $                               400.00
8.    Childcare and children’s education costs                                                 8.                  $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9.                  $                                56.00
10.   Personal care products and services                                                    10.                   $                                37.00
11.   Medical and dental expenses                                                            11.                   $                               108.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 400.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  40.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   60.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                    0.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  110.15
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     4,773.49
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     4,773.49
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,730.80
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,773.49

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 -42.69

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Will pay off motorcycle in August 2025.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
               Case 25-20392             Doc 1     Filed 04/23/25         Entered 04/23/25 15:57:14                    Page 46 of 72




Fill in this information to identify your case:

Debtor 1                    Liza M. DeLeon-Velazquez
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Liza M. DeLeon-Velazquez                                      X
             Liza M. DeLeon-Velazquez                                          Signature of Debtor 2
             Signature of Debtor 1

             Date       April 22, 2025                                         Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
                Case 25-20392                 Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                      Page 47 of 72




 Fill in this information to identify your case:

 Debtor 1                  Liza M. DeLeon-Velazquez
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF CONNECTICUT

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               04/25
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                                Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $19,040.00            Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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             Case 25-20392                    Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                      Page 48 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                    Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

                                                      Wages, commissions,                           $800.00           Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $33,108.00            Wages, commissions,
 (January 1 to December 31, 2024 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $30,720.00            Wages, commissions,
 (January 1 to December 31, 2023 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Child Support                                               $1,500.00
 the date you filed for bankruptcy:

 For last calendar year:                           Child Support                                  $6,500.00
 (January 1 to December 31, 2024 )

 For the calendar year before that:                Child Support                                  Unknown
 (January 1 to December 31, 2023 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $8,575* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $8,575* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
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             Case 25-20392                    Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                     Page 49 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                    Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Freedom Mortgage Corporation                              February, March,               $8,617.02         $141,275.68         Mortgage
       ATTN: PRESIDENT                                           April                                                                Car
       P.O. Box 8068
                                                                                                                                      Credit Card
       Virginia Beach, VA 23450
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Kawasaki/Synchrony Bank                                   February, March,                 $330.45              $530.36        Mortgage
       Attn: President                                           April                                                                Car
       PO Box 669805                                                                                                                  Credit Card
       Dallas, TX 75266                                                                                                               Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Motorcycle


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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             Case 25-20392                    Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                       Page 50 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                    Case number (if known)



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                   Value of the
                                                                                                                                                        property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was            Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave               Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:
       Chlidren                                                      Periodic birthday and christmas gifts;                   Various                 Unknown
                                                                     believed to be less than $400 per child

       Person's relationship to you: Children


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                    Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
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             Case 25-20392                    Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                      Page 51 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                    Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Beckett Law, LLC                                              Attorney fee                                             Various dates            $2,200.00
       Attn: President
       543 Prospect Avenue
       Hartford, CT 06105
       www.beckett-law.com


       001 Deborcc Inc.                                              Counseling Certificate                                   March 2025                  $19.95
       ATTN: PRESIDENT
       378 Summit Avenue
       Jersey City, NJ 07306
       www.abacuscc.org


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
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               Case 25-20392                  Doc 1           Filed 04/23/25               Entered 04/23/25 15:57:14                 Page 52 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                     Case number (if known)



 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred
       Hartford Federal CU                                       XXXX-                            Checking              Closed by Bank            Unknown
       ATTN: PRESIDENT                                                                            Savings
       964 Asylum Avenue
                                                                                                  Money Market
       Hartford, CT 06105
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Carlos Zayas                                                  33 Montrose Street                     2014 Nissan Altima                    $5,090.00
       153 Capen St.                                                 Hartford, CT 06106
       Hartford, CT 06120




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 6
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             Case 25-20392                    Doc 1           Filed 04/23/25               Entered 04/23/25 15:57:14                     Page 53 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                         Case number (if known)



 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                 Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Better Vision Awaits                                      Retinal Eyewear Reseller                            EIN:
       33 Montrose Street
       Hartford, CT 06106                                        Self-Prepared                                       From-To    January 2022 - July 2023




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
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             Case 25-20392                    Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                   Page 54 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                    Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 8
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             Case 25-20392                    Doc 1           Filed 04/23/25            Entered 04/23/25 15:57:14                   Page 55 of 72
 Debtor 1      Liza M. DeLeon-Velazquez                                                                    Case number (if known)




 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Liza M. DeLeon-Velazquez
 Liza M. DeLeon-Velazquez                                                Signature of Debtor 2
 Signature of Debtor 1

 Date     April 22, 2025                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 9
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               Case 25-20392              Doc 1    Filed 04/23/25           Entered 04/23/25 15:57:14              Page 56 of 72


Fill in this information to identify your case:

Debtor 1                  Liza M. DeLeon-Velazquez
                          First Name              Middle Name                Last Name

Debtor 2
(Spouse if, filing)       First Name              Middle Name                Last Name


United States Bankruptcy Court for the:      DISTRICT OF CONNECTICUT

Case number
(if known)                                                                                                               Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Club Exploria Llc                            Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of        Timeshare through Fairway at              Reaffirmation Agreement.
   property              Pocono Mountain Villas                    Retain the property and [explain]:
   securing debt:        Unit 1520/17 odd



   Creditor's         Club Exploria Llc                            Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of        Timeshare through Fairway at              Reaffirmation Agreement.
   property              Pocono Mountain Villas                    Retain the property and [explain]:
   securing debt:        Unit 1520/17 odd



   Creditor's         Freedom Mortgage Corporation                 Surrender the property.                             No
   name:                                                           Retain the property and redeem it.
                                                                   Retain the property and enter into a                Yes
   Description of        33 Montrose Street Hartford, CT           Reaffirmation Agreement.
                         06106 Hartford County

Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
             Case 25-20392          Doc 1        Filed 04/23/25          Entered 04/23/25 15:57:14                     Page 57 of 72


Debtor 1       Liza M. DeLeon-Velazquez                                                    Case number (if known)


    property         Single-unit Residential Dwelling            Retain the property and [explain]:
    securing debt:                                             Retain collateral and continue to pay


    Creditor's   Synchrony/Kawasaki                              Surrender the property.                                     No
    name:                                                        Retain the property and redeem it.
                                                                 Retain the property and enter into a                        Yes
    Description of 2020 Kawasaki EX400                           Reaffirmation Agreement.
    property       Black                                         Retain the property and [explain]:
    securing debt: Good condition                              Retain collateral and continue to pay

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Liza M. DeLeon-Velazquez                                       X
      Liza M. DeLeon-Velazquez                                               Signature of Debtor 2
      Signature of Debtor 1

      Date       April 22, 2025                                          Date


Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2
           Case 25-20392       Doc 1       Filed 04/23/25          Entered 04/23/25 15:57:14                 Page 58 of 72


Debtor 1    Liza M. DeLeon-Velazquez                                                Case number (if known)




Official Form 108                      Statement of Intention for Individuals Filing Under Chapter 7                         page 3
           Case 25-20392                Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                Page 59 of 72


Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
           Case 25-20392                Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                    Page 60 of 72



       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
           Case 25-20392                Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                Page 61 of 72

       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
           Case 25-20392                Doc 1        Filed 04/23/25             Entered 04/23/25 15:57:14                Page 62 of 72

                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
             Case 25-20392               Doc 1        Filed 04/23/25           Entered 04/23/25 15:57:14                     Page 63 of 72
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                 District of Connecticut
 In re       Liza M. DeLeon-Velazquez                                                                         Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,200.00
             Prior to the filing of this statement I have received                                        $                     2,200.00
             Balance Due                                                                                  $                         0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Included: Credit Report

                  Excluded: Title Search, Copies, Post Petition Filing Fees, Certified Copies, Certified Mail, Postage for Mass
                  Mailings, Overnight Fees, and other necessary Expenses.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             The Base Fee does NOT include representation of the debtor(s) in any disputed matters or matters unanticipated
             at the time of filing including, but not limited to, dischargeability actions, judicial lien avoidances, relief from stay
             actions and/or other adversary proceedings, negotiations with secured creditors as to facts, law or value;
             preparation and filing of reaffirmation agreements and applications as needed; preparation and filing of motions
             pursuant to 11 USC 522(f)(2)(A) for avoidance of liens; Preparation and filing of Motions pursuant to Section
             506, 722, or other Code provision. Fees for such services will be at the Firm's customary hourly rate of $395.00
             for Senior Attorney, $350 for Associate Attorney, and $195.00 for paralegals and senior staff, as adjusted from
             year to year for COLA, and subject to Court approval.
          Case 25-20392             Doc 1        Filed 04/23/25           Entered 04/23/25 15:57:14                    Page 64 of 72

In re     Liza M. DeLeon-Velazquez                                                                  Case No.
                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   April 22, 2025                                                        /s/ Suzann Beckett
   Date                                                                  Suzann Beckett ct02186
                                                                         Signature of Attorney
                                                                         Beckett Law, LLC
                                                                         543 Prospect Ave
                                                                         Hartford, CT 06105
                                                                         860-236-1111 Fax: 860-236-0050
                                                                         SuzannB@Beckett-Law.com
                                                                         Name of law firm
         Case 25-20392            Doc 1      Filed 04/23/25         Entered 04/23/25 15:57:14               Page 65 of 72




                                              United States Bankruptcy Court
                                                       District of Connecticut
 In re   Liza M. DeLeon-Velazquez                                                              Case No.
                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



Date: April 22, 2025                                   /s/ Liza M. DeLeon-Velazquez
                                                       Liza M. DeLeon-Velazquez
                                                       Signature of Debtor

Date: April 22, 2025                                   /s/ Suzann Beckett
                                                       Signature of Attorney
                                                       Suzann Beckett ct02186
                                                       Beckett Law, LLC
                                                       543 Prospect Ave
                                                       Hartford, CT 06105
                                                       860-236-1111 Fax: 860-236-0050
    Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 66 of 72
      DeLeon-Velazquez, Liza - - Pg. 1 of 7


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                       Affirm, Inc.
                       ATTN: PRESIDENT/CEO
                       650 California St, Fl 12
                       San Francisco, CA 94108


                       Amazon Marketplace Payments
                       ATTN: PRESIDENT
                       PO Box 81226
                       Seattle, WA 98108


                       Amazon.com
                       ATTN: PRESIDENT
                       PO Box 81226
                       Seattle, WA 98108


                       American Eagle Outfitters
                       ATTN: PRESIDENT
                       PO Box 530942
                       Atlanta, GA 30353-0942


                       Amex
                       ATTN: PRESIDENT/CEO
                       Po Box 981540
                       El Paso, TX 79998


                       Amex
                       ATTN: PRESIDENT/CEO
                       Po Box 981535
                       El Paso, TX 79998


                       Apple Card c/o Goldman Sachs
                       ATTN PRESIDENT
                       Lockbox 6112, PO Box 7247
                       Philadelphia, PA 19170-6112


                       Bank of America
                       ATTN: PRESIDENT/CEO
                       4909 Savarese Circle
                       Tampa, FL 33634


                       BJ's
                       Card Services
                       ATTN: PRESIDENT
                       P.O. Box 13337
                       Philadelphia, PA 19101-3337
Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 67 of 72
  DeLeon-Velazquez, Liza - - Pg. 2 of 7



                   Capital Management Services LP
                   ATTN: PRESIDENT
                   698 1/2 South Ogden Street
                   Buffalo, NY 14206-2317


                   Capital One
                   ATTN: PRESIDENT/CEO
                   Po Box 30285
                   Salt Lake City, UT 84130


                   Capital One Bank
                   ATTN: PRESIDENT
                   P.O. Box 85147
                   Richmond, VA 23276


                   Cavalry Portfolio Services
                   ATTN: PRESIDENT/CEO
                   1 American Lane, Ste 220
                   Greenwich, CT 06831


                   Cavalry Portfolio Services
                   Attn: President
                   1 American Lane
                   Suite 220
                   Greenwich, CT 06831


                   Citibank/The Home Depot
                   ATTN: PRESIDENT/CEO
                   Po Box 790040
                   St Louis, MO 63179


                   City of Hartford
                   Tax Collector
                   ATTN: PRESIDENT
                   550 Main Street
                   Hartford, CT 06103-2992


                   Club Exploria
                   ATTN PRESIDENT
                   PO Box 29352
                   Phoenix, AZ 85038


                   Club Exploria Llc
                   ATTN: PRESIDENT/CEO
                   4150 N. Drinkwater Boulevard
                   Scottsdale, AZ 85251
Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 68 of 72
  DeLeon-Velazquez, Liza - - Pg. 3 of 7



                   Comenity Bank/Breadrwds
                   ATTN: PRESIDENT/CEO
                   Po Box 182125
                   Columbus, OH 43218


                   Comenity/MPRC
                   ATTN: PRESIDENT/CEO
                   Po Box 182125
                   Columbus, OH 43218


                   Connecticut Natural Gas
                   ATTN: PRESIDENT
                   76 Meadow St
                   East Hartford, CT 06108


                   Credit Control LLC
                   ATTN: PRESIDENT
                   3300 Rider Trail S
                   Suite 500
                   Earth City, MO 63045


                   Credit Control, LLC
                   Attn: President
                   3300 Rider Trail S
                   Suite 500
                   Earth City, MO 63045


                   Credit One Bank
                   ATTN: PRESIDENT
                   PO Box 98873
                   Las Vegas, NV 89193-8873


                   Discover Financial
                   ATTN: PRESIDENT/CEO
                   Po Box 3025
                   New Albany, OH 43054


                   Esporta Fitness
                   ATTN PRESIDENT
                   1600 Southeast Road
                   Farmington, CT 06032


                   Estate Information Services
                   ATTN: PRESIDENT
                   PO Box 1370
                   Reynoldsburg, OH 43068
Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 69 of 72
  DeLeon-Velazquez, Liza - - Pg. 4 of 7



                   Firstsource ADvantage, LLC
                   ATTN: PRESIDENT
                   P.O. Box 628
                   Buffalo, NY 14240-0628


                   Freedom Mortgage Corporation
                   ATTN: PRESIDENT/CEO
                   907 Pleasant Valley Ave, Ste 3
                   Mt Laurel, NJ 08054


                   Gatestone & Co International
                   ATTN: PRESIDENT
                   1000N West Street
                   Suite 1200
                   Wilmington, DE 19801


                   Glass Mountain Capital LLC
                   ATTN PRESIDENT
                   1375 E Woodfield Road, Suite 4
                   Schaumburg, IL 60173-5426


                   Goldman Sachs Bank USA
                   ATTN: PRESIDENT/CEO
                   Po Box 70379
                   Philadelphia, PA 19176


                   LVNV Funding LLC
                   Attn: President
                   15 South Main Street
                   Greenville, SC 29601


                   Macy's
                   ATTN PRESIDENT
                   P.O. Box 8066
                   Mason, OH 45040


                   Merrick Bank/Card Works
                   ATTN: PRESIDENT/CEO
                   P.O. Box 5000
                   Draper, UT 84020


                   Metropolitan District
                   ATTN: PRESIDENT
                   555 Main Street
                   Hartford, CT 06103
Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 70 of 72
  DeLeon-Velazquez, Liza - - Pg. 5 of 7



                   Nestor Luis Santiago Ortiz
                   747 Park St.
                   Hartford, CT 06105


                   Nestor Santiago
                   747 Park St.
                   Hartford, CT 06105


                   Oportun
                   ATTN: PRESIDENT/CEO
                   Po Box 560698
                   The Colony, TX 75056


                   Paypal Corporate Office
                   ATTN: PRESIDENT
                   2211 N. 1st Street
                   San Jose, CA 95131


                   Phillips & Cohen Associates
                   ATTN: PRESIDENT
                   1002 Justison Street
                   Wilmington, DE 19801


                   Radius Global Solutions, LLC
                   ATTN PRESIDENT
                   PO Box 390905
                   Minneapolis, MN 55439


                   Resurgent
                   ATTN: PRESIDENT
                   P.O. Box 37604
                   Philadelphia, PA 19101-0604


                   Schreiber Law Firm
                   ATTN: PRESIDENT
                   189 State Street
                   Bridgeport, CT 06604


                   Social Security Administration
                   ATTN: PRESIDENT
                   P.O. Box 3490
                   Philadelphia, PA 19122
Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 71 of 72
  DeLeon-Velazquez, Liza - - Pg. 6 of 7



                   Sporta Fitness
                   ATTN PRESIDENT
                   1600 Southeast Road
                   Farmington, CT 06032


                   Stillman Law Office
                   ATTN PRESIDENT
                   30057 Orchard Lake Road
                   Suite 200 Dept. 100
                   Farmington Hills, MI 48334


                   Sussman & Associates
                   ATTN PRESIDENT
                   410 S Rampart Blvd
                   Suite 390
                   Las Vegas, NV 89145


                   Synchrony Bank/Amazon
                   PO BOX 960013
                   Orlando, FL 32896-0013


                   Synchrony Bank/Gap
                   ATTN: PRESIDENT/CEO
                   Po Box 965060
                   Orlando, FL 32896


                   Synchrony/Kawasaki
                   Attn: Bankruptcy
                   Po Box 965060
                   Orlando, FL 32896


                   TRS Recovery Services, Inc.
                   ATTN: PRESIDENT
                   P.O. Box 60022
                   City Of Industry, CA 91716-0022


                   Upgrade, Inc.
                   ATTN: PRESIDENT/CEO
                   275 Battery Street 23rd Floor
                   San Francisco, CA 94111


                   Velocity Investments, LLC
                   ATTN: PRESIDENT
                   P.O. Box 788
                   Wall, NJ 07719
Case 25-20392 Doc 1 Filed 04/23/25 Entered 04/23/25 15:57:14   Page 72 of 72
  DeLeon-Velazquez, Liza - - Pg. 7 of 7



                   xTimeshares
                   ATTN PRESIDENT
                   15707 Rockfield Blvd
                   Suite 200
                   Irvine, CA 92618
